                           United States District Court
                         Western District of North Carolina
                                Asheville Division

        Gianna Marie Vejmola,          )             JUDGMENT IN CASE
                                       )
              Plaintiff(s),            )              1:20-cv-00154-WCM
                                       )
                  vs.                  )
                                       )
   Commissioner of Social Security ,   )
           Defendant(s).               )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 1, 2021 Order.

                                               October 1, 2021




        Case 1:20-cv-00154-WCM Document 17 Filed 10/01/21 Page 1 of 1
